4:13-cr-03130-JMG-CRZ   Doc # 549   Filed: 11/02/16   Page 1 of 1 - Page ID # 2321




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:13-CR-3130

vs.                                                    JUDGMENT

YARA SUJEY MARTINEZ GARCIA,

                 Defendant.

     In accordance with the accompanying Memorandum and Order, the
defendant's motion to vacate under 28 U.S.C. § 2255 (filing 543) is dismissed.

      Dated this 2nd day of November, 2016.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
